Case 8:17-cv-01403-DOC-KES Document 91 Filed 06/11/19 Page 1of2 Page ID #:954

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and HUGH F. BOYLE

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

COR SECURITIES HOLDINGS INC.,
a Delaware Corporation; and COR,
CLEARING LLC, a Delaware limited
liability company,

Plaintiffs,
V.

BANC OF CALIFORNIA, N.A., a
nationally chartered bank under the laws
of California; HUGH F. BOYLE, an
individual; and DOES 1-10,

Defendants.

 

BANC OF CALIFORNIA, N.A., a

nationally chartered bank under the laws
of California,

Counter-Complainant,
Vv.
COR SECURITIES HOLDINGS INC.,
a Delaware Corporation; and COR,

CLEARING LLC, a Delaware limited
liability company,

Counter-Defendants.

 

 

 

 

Case No. 8:17-cv-01403 DOC (KESx)
HON. DAVID O. CARTER

STIPULATION OF DISMISSAL

Complaint Filed: August 15, 2017
Trial Date: August 20, 2019

 

STIPULATION OF DISMISSAL

la-1411952

 

 
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Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs and
Counter-defendants COR Securities Holdings Inc. (“CORSHI”) and COR Clearing
LLC (“COR Clearing”) and Defendant and Counter-claimant Banc of California,
N.A. (“Banc”) and Defendant Hugh Boyle (““Mr. Boyle”), by and through their

undersigned counsel, stipulate to dismiss this action in its entirety. The claims

alleged on behalf of Plaintiffs CORSHI and COR Clearing against Defendants

Banc and Mr. Boyle shall be dismissed with prejudice. Banc’s counterclaims

against Plaintiffs CORSHI and COR Clearing shall be dismissed with prejudice.

The parties expressly deny any liability or wrongdoing and this stipulation shall not

be construed to be an admission of liability or wrongdoing. Each party shall bear

his or its own costs and expenses, including attorneys’ fees.

Dated: May /5 ,2019

Dated: May (S 2019

la-1411952

MORRISON & FOERSTER LLP
DAVID F. MCDOWELL
ASHLEIGH K. LANDIS

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Attorneys for Banc of California, N.A.
and Hugh F. Boyle

  
    
 

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~Jeremry Deutsch

ree COR Securities Holdings Inc.
and COR Clearing LLC

STIPULATION OF DISMISSAL

 

 
